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  10 PROPOSED ATTORNEYS FOR DEBTOR
  11                              UNITED STATES BANKRUPTCY COURT
  12                                 FOR THE DISTRICT OF ARIZONA
  13
        In re                                        Case No.
  14
        HUFFERMEN, INC.                              Chapter 11
  15
                        Debtor.                      EMERGENCY MOTION FOR AN ORDER:
  16                                                 (A) AUTHORIZING PAYMENT OF UNPAID
                                                     PRE-PETITION WAGES, SALARIES,
  17                                                 REIMBURSEMENT OF EXPENSES AND
                                                     EMPLOYEE BENEFITS; AND (B)
  18                                                 DIRECTING ALL BANKS TO HONOR PRE-
                                                     PETITION CHECKS FOR PAYMENT OF
  19                                                 PRE-PETITION EMPLOYEE OBLIGATIONS

  20
                Huffermen, Inc. (“Debtor” or “Huffermen”), as debtor and debtor-in-possession in the
  21
       above-entitled Chapter 11 proceeding, hereby moves this Court for an Order; (a) authorizing the
  22
       Debtor to pay unpaid pre-petition wages, salaries, reimbursement of expenses and employee
  23
       benefits; and (b) directing all banks to honor pre-petition checks for payment of such pre-petition
  24
       employee obligations (the “Motion”).
  25
                A motion for an expedited hearing on this matter has been filed simultaneously herewith
  26
       as payments to employees are due to be disbursed. The payment of employees requested herein is
  27
       essential to Debtor’s business operations, as it is necessary to maintain employee morale and
  28
                                                    -1-
           MOTION FOR AN ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES,
       REIMBURSEMENT OF EXPENSES AND EMPLOYEE BENEFITS; AND (B) DIRECTING ALL BANKS TO HONOR PRE-
                    PETITION CHECKS FOR PAYMENT OF PRE-PETITION EMPLOYEE OBLIGATIONS
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       because a failure to make payroll on time would likely result in the loss of employees, as well as
   2
       a severe hardship to those employees. This Motion is supported by the entire record before the
   3
       Court, the “Declaration of Ross Dodson in Support of Chapter 11 Petition and First Day
   4
       Accelerated Motions” (the “Dodson Declaration”), and the attached Memorandum of Points and
   5
       Authorities, which is incorporated herein by this reference.
   6
   7
              DATED this 26th day of November, 2018.
   8
   9                                                KEERY MCCUE, PLLC

  10
                                                By: /s/ Patrick F. Keery (#030971)
  11
                                                    Patrick F. Keery, Esq.
  12                                                Proposed Attorneys for Debtor

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           MOTION FOR AN ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES,
       REIMBURSEMENT OF EXPENSES AND EMPLOYEE BENEFITS; AND (B) DIRECTING ALL BANKS TO HONOR PRE-
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                            MEMORANDUM OF POINTS AND AUTHORITIES
   2
          I.       JURISDICTION AND VENUE
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          1. Huffermen, Inc., an Arizona Corporation (“Huffermen”), filed a voluntary petition under
   4
                Chapter 11 of the Bankruptcy Code on November 26, 2018 (“Petition Date”).
   5
          2. Ross Dodson (“Mr. Dodson”) is the president, director and majority shareholder of the
   6
                Debtor.
   7
          3. Mr. Dodson is operating Debtor and managing Debtor’s assets as debtor-in-possession in
   8
                accordance with 11 U.S.C. §§ 1107 and 1108. This Court has jurisdiction over this Chapter
   9
                11 proceeding under 28 U.S.C. §§ 157 and 1334.              These matters constitute core
  10
                proceedings under 28 U.S.C. § 157(b)(2).
  11
          4. Debtor is an Arizona corporation with its principal place of business located in Phoenix,
  12
                Maricopa County, Arizona. Accordingly, venue of the Debtor’s Chapter 11 proceeding is
  13
                proper in this District under 28 U.S.C. §§ 1408 and 1409.
  14
          5. The statutory predicates for the relief requested in this Motion are Bankruptcy Code §§
  15
                105(a), 363(a)(4) and 507(a)(5).
  16
          II.      FACTUAL BACKGROUND
  17
          6. Huffermen is owned and operated by Mr. Dodson and Eric Miller (“Mr. Miller”). Mr.
  18
                Dodson owns 75% of the outstanding shares in Debtor and Mr. Miller owns the remaining
  19
                shares.
  20
          7. Huffermen is in the business of plastic bottle manufacturing and advertising specialties
  21
                printing and has been in operation since 2000.
  22
          8. Huffermen was formed on September 15, 2000 for the purpose of manufacturing and
  23
                selling plastic products. Huffermen has thirty-seven (37) full-time employees (including
  24
                Mr. Dodson and Mr. Miller) and no part-time employees.
  25
          9. Mssrs. Dodson and Miller intend to continue to operate Huffermen and to reorganize under
  26
                Chapter 11 of the Bankruptcy Code.
  27
  28
                                                     -3-
           MOTION FOR AN ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES,
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          10. The employees perform a variety of critical functions, including the operation of
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             Huffermen’s business, as well as performing tasks related to client relations, customer
   3
             service, sales, shipping, administrative, accounting, supervisory, and other tasks. The
   4
             employees’ skills, labor and their knowledge and understanding of industry and more
   5
             specifically, Huffermen’s operations are essential to the effective restructuring of the
   6
             Debtor’s business.     Without the continued services of the employees, an effective
   7
             restructuring of the Debtor will not be possible.
   8
          11. If pre-petition compensation is not received by the employees in the ordinary course, they
   9
             will suffer extreme personal hardship and in many cases will be unable to pay their basic
  10
             living expenses. Such a result obviously would destroy employee morale and result in
  11
             unmanageable employee turnover, causing immediate and pervasive damage to the
  12
             Debtor’s ongoing business operations. Any significant deterioration in morale at this time
  13
             will substantially and adversely affect the Debtor and its ability to reorganize, and result in
  14
             immediate and irreparable harm to the Debtor and its estate.
  15
          12. The relief requested in this Motion will reduce significantly the administrative burden that
  16
             might otherwise be imposed in this Chapter 11 case. The compensation and reimbursement
  17
             amounts that the Debtor seeks to pay to the employees constitute priority claims under
  18
             Bankruptcy Code §507(a)(4) to the extent of $12,850.00 per employee.
  19
          13. Because all of the employees are engaged in the Debtor’s general operations and are paid
  20
             hourly, the Debtor anticipates that all accrued pre-petition obligations owing to individual
  21
             employees will be substantially less than the statutory cap of $12,850.00 per employee for
  22
             priority treatment provided by §507(a)(4).
  23
          14. In addition to the direct compensation, the Debtor also reimburses employees for expenses
  24
             incurred and pays certain third parties for services rendered as “employee benefits.” These
  25
             sums may reflect both pre- and post-petition benefits, and, as with the payment of employee
  26
             earnings, the funding of these benefit obligations is essential to the retention of employees
  27
             and to the Debtor’s operations.
  28
                                                    -4-
           MOTION FOR AN ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES,
       REIMBURSEMENT OF EXPENSES AND EMPLOYEE BENEFITS; AND (B) DIRECTING ALL BANKS TO HONOR PRE-
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              15. Debtor’s request to pay employees does not include payment of wages to insiders, Mr.
   2
                     Miller or Mr. Dodson, or any terminated or departing employees of Debtor.
   3
              III.       RELIEF REQUESTED
   4
                     By this Motion, the Debtor requests that this Court enter an Order pursuant to §§105(a)
   5
       and 507(a)(4) of the Bankruptcy Code, authorizing the Debtor to pay or otherwise honor various
   6
       employee-related pre-petition obligations of the Debtor to or for the benefit of current and/or
   7
       former employees (collectively, the “Employees”), as would be the normal procedure for the
   8
       Debtor.          All of these payments are ordinary payments of wages and do not contain any
   9
       extraordinary or atypical payments to employees.
  10
                     For the reasons set forth herein, the Debtor respectfully submits that it is in the best interests
  11
       of the Estate for this Court to authorize the Debtor to make such payments and honor obligations
  12
       owed to, or for the benefit of the Employees. These obligations (the “Pre-Petition Employee
  13
       Obligations”) include, without limitation: (a) unpaid pre-petition wages, fees, salaries, bonuses,
  14
       commissions, holiday and vacation pay and sick leave pay earned prior to the petition date; (b)
  15
       workers’ compensation claims arising before the petition date; (c) reimbursable business expenses
  16
       incurred before the petition date; and (d) other employee benefit claims arising before the petition
  17
       date, including without limitation, claims for payroll and withholding taxes, payments pursuant to
  18
       garnishment orders, and miscellaneous other benefits. While Debtor does not know the exact
  19
       amount of the Pre-Petition Employee Obligations,1 Debtor believes the amounts reflected in
  20
       Exhibit A (attached hereto) are indicative of such amounts.
  21
                     Debtor also seeks authority to pay any and all local, state, and federal withholding and
  22
       payroll related taxes relating to the pre-petition periods including, but not limited to, all
  23
       withholding taxes, Social Security taxes and Medicare taxes. See City of Farrell v. Sharon Steel
  24
       Corp., 41 F.3d 92 (3rd Cir. 1994) (state law requiring debtor to withhold city income taxes from its
  25
  26
       1
           Debtor’s next pay period is from November 21, 2018 through December 1, 2018 and are payable on December 7,
  27 2018. Given that the pay period is not yet complete, the pay schedule attached as Exhibit A reflects the payroll to
       Employees for the pay period immediately prior to the current pay period and Debtor does not expect any significant
  28   deviation in amounts owing to employees.
                                                            -5-
           MOTION FOR AN ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES,
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       employees’ wages create a trust relationship between debtor and the city for payment of withheld
   2
       taxes).
   3
                 Finally, Debtor seeks an Order directing all banks to honor pre-petition checks for payment
   4
       of the Pre-Petition Employee Obligations.
   5
          IV.       LEGAL ARGUMENT
   6
                 Sections 507(a)(4) and (a)(5) of the Bankruptcy Code give priority up to $12,850.00 per
   7
       individual for pre-petition claims for wages, salaries, vacation, and sick leave, and claims for
   8
       contribution to Employee Benefit plans. The Debtor estimates that most, and likely all of, the pre-
   9
       petition employment obligations are entitled to priority under §§507(a)(4) and (a)(5) as each
  10
       employee-claimant is owed less than $12,850.00. Payments to §§507(a)(4) and (a)(5) creditors in
  11
       full, as of the plan’s effective date are a requirement for any Chapter 11 Plan of Reorganization.
  12
       11 U.S.C. §1129(a)(9)(B). Accordingly, the Bankruptcy Code requires the Debtor to follow the
  13
       requirements of §§507(a)(4) and (a)(5) in formulating its Chapter 11 Plan before presenting the
  14
       plan to its creditors and the Court.
  15
                 Moreover, under the “necessity of payment” rule, first enunciated by the Supreme Court in
  16
       Miltenberger v. Logansport, C. & S.W.R. Co., 106 U.S. 286 (1882), a bankruptcy court may use
  17
       its §105 equitable powers to permit a debtor-in-possession to pay pre-petition claims when
  18
       payment is necessary to effectuate a successful reorganization. See In re Lehigh & New England
  19
       Ry. Co., 657 F.2d 570, 581 (3rd Cir. 1981) (necessity of payment doctrine “teaches no more than,
  20
       if payment of a claim which arose prior to reorganization is essential to the continued operation of
  21
       the [business] during the reorganization, payment may be authorized even if it is made out of the
  22
       corpus”).
  23
                 Also, Section 105(a) provides “the court may issue any order, process or judgment that is
  24
       necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. §105(a). Bankruptcy
  25
       courts have repeatedly relied upon §105(a) as authority for granting motions for approval of pre-
  26
       petition salary and wages. See e.g., In re Ionosphere Clubs, Inc., 98 B.R. 174 (Bankr. S.D.N.Y.
  27
       1989) (§105(a) allows for approval of payment for employees’ claims for pre-petition wages,
  28
                                                      -6-
           MOTION FOR AN ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES,
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       salaries, medical benefits and business expense claims).
   2
              The Bankruptcy Court for the District of Arizona has, in previous cases, utilized its §105
   3
       powers to authorize the payment of pre-petition employee claims when, as in this case,
   4
       nonpayment or delay would damage a company’s business or ability to reorganize. See In re
   5
       McCulloch Corp., No. 99-0074-TUC-JMM (Bankr. D. Ariz. January 11, 1999); see also In re
   6
       Unison Healthcare Corp., 98-06583-PHX-GBN (D. Ariz. September 5, 1998).
   7
              Other courts have also permitted debtors-in-possession to pay pre-petition wage, salary,
   8
       expense and benefit claims if payment of such claims was necessary to effectuate a successful
   9
       reorganization. See In re Gulf Air, Inc., 112 B.R. 152 (Bankr. W.D.La. 1989) (authorizing debtor-
  10
       in-possession to pay pre-petition employee wages and benefits, and health, life and workers’
  11
       compensation insurance premiums); see also In re Chateaugay Corp., 80 B.R. 279 (S.D.N.Y.
  12
       1987) (affirming order authorizing debtor to pay certain pre-petition wages, salaries, employee
  13
       reimbursement expenses and benefits, including payment on workers’ compensation claims).
  14
              The relief requested in this Motion is necessary and should be authorized under §105. The
  15
       Employees are vital to the continued operation of the Debtor’s business and to its successful
  16
       reorganization.   Authorization to pay the pre-petition Employee obligations is necessary to
  17
       maintain the Employees’ morale and to prevent many of them from suffering extreme personal
  18
       hardship or from seeking other employment. Accordingly, the relief sought herein is consistent
  19
       with §§ 105(a) and 507(a) of the Bankruptcy Code.
  20
              Moreover, the Debtor’s payment of the Pre-Petition Employee Obligations to Employees
  21
       in the ordinary course of business should neither prejudice general unsecured creditors nor
  22
       materially affect Debtor’s estate, because §§ 507(a)(4) and (a)(5) priority claims would already be
  23
       entitled to payment in full under a reorganization plan. See 11 U.S.C. § 1129(a)(9)(B).
  24
              Debtor seeks to pay the Pre-Petition Employee Obligations and to continue the post-
  25
       petition funding of its employee benefits packages. Such action, if authorized, however, should
  26
       not be deemed to be an assumption or adoption of any agreement or policy providing such
  27
       coverage.
  28
                                                    -7-
           MOTION FOR AN ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES,
       REIMBURSEMENT OF EXPENSES AND EMPLOYEE BENEFITS; AND (B) DIRECTING ALL BANKS TO HONOR PRE-
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              WHEREFORE, Debtor respectfully requests entry of an order granting the relief
   2
       requested herein and such other and further relief as is just and proper.
   3
   4          DATED this 26th day of November, 2018.
   5
   6                                                 KEERY MCCUE, PLLC

   7                                             By: /s/ Patrick F. Keery (# 030971)
                                                     Patrick F. Keery, Esq.
   8                                                 Proposed Attorneys for Debtor
       COPY of the foregoing served
   9
       via email to:
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     Office of U.S. Trustee
  11 230 North First Ave., Suite 204
     Phoenix, AZ 85003-1706
  12 Email: ustpregion14.px.ecf@usdoj.gov

  13
       By: /s/ Mollie Thompson
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